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                                           November 19, 2020

    VIA ECF
    Honorable Michael J. Roemer
    United States Magistrate Judge
    Robert H. Jackson United States Courthouse
    2 Niagara Square
    Buffalo, New York 14202



            Re:    Matter:    Deborah Laufer v. Jamestown Hotel LLC
                   Docket No. 1:20-cv-00367-LJV-MJR
                   Our File No. 7710-25944______________________________________

    Dear Judge Roemer:

           Our firm represents Defendant Jamestown Hotel LLC (the “Defendant”) in the above-
    referenced matter.

            We write to bring to the Court’s attention the Decision and Order of the Honorable Brenda
    K. Sannes, United States District Court Judge for the Northern District of New York, which was
    entered on CM/ECF today (the “11/19/20” Order”). A true and correct copy of the 11/19/20 Order
    is attached hereto as Exhibit “A”.

            Defendant respectfully requests that this Court consider the 11/19/20 Order when deciding
    Defendant’s motion to dismiss in the instant action. Through the 11/19/20 Order, Judge Sannes
    dismissed all of Deborah Laufer’s cases that were still pending in the Northern District of New
    York. We note that all of the dismissed complaints were nearly identical to the complaint in the
    instant action, and that Judge Sannes dismissed these actions for lack of standing, which is also
    one of the bases upon which we seek to dismiss Plaintiff’s complaint in this action.

           Rather than summarizing Judge Sannes’ well-reasoned decision and order, we attach it as
    an exhibit to this correspondence for the Court’s consideration.




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Honorable Michael J. Roemer
November 19, 2020
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       Thank you for your consideration of our request.


                                        Very truly yours,

                                      /s/ Heidi M. Gootnick

                                       Heidi M. Gootnick

cc: All Counsel of Record (via ECF)
